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                               THOMAS B. BACON, P.A.
                                ATTORNEYS-AT-LAW
                                      5150 Cottage Farm Rd.
                                      Johns Creek, GA 30022
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          Our file 3337 - Laufer v. Laxmiben Champaklal LLC, 4:20-cv-00032-LMM
                    Royal Inn Calhoun GA, 510 GA-53, Calhoun, GA 30701



                                  Tristan W. Gillespie Timesheet

February 12, 2020
Review initial pre-suit investigation report and screenshots                     0.2
Review correspondence from TBB re instructions for opening case                  0.1
Research name and address of corporate owner of subject hotel.                   1.8
Research whether Defendant had any prior ADA lawsuits filed against them.        0.3
Draft and file Civil Cover Sheet, Summons and Complaint.                         2.9

February 12, 2020
Forward signed Summons and Complaint to process server.                          0.6

February 20, 2020
Review standing order regarding civil litigation                                 0.5

March 4, 2020
Receive and file Return of Service                                               0.4

March 24, 2020
Review general order re court operations                                         0.3

March 31, 2020
Draft and file motion for clerk’s entry of default                               1.9

April 1, 2020
Draft and file motion for default judgment and proposed order                    2.9
Review amended general order                                                     0.2

May 19, 2020
Review/analyze order denying motion for default judgment                         0.5

May 20, 2020
Draft and file motion for leave to amend complaint                               2.1

                                                   1
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June 11, 2020
Review/analyze court order re motion to amend complaint                   0.4

June 22, 2020
Review/ analyze order to show cause                                       0.3
Draft and file amended complaint                                          1.4

July 6, 2020
Receive and file return of service                                        0.3

July 17, 2020
Draft and file motion for clerk’s entry of default                        0.6

September 10, 2020
Review order granting motion for default judgment                         0.2
Draft and file motion for attorney fees                                   2.9

                                                                          ____
                              Total TG Time                               19.8
Compensable TWG Time (19.8 hours multiply by $400.00/hr) = $7920
.00




                                                 2
